

People ex rel. Ashton v Maginley-Liddie (2024 NY Slip Op 02763)





People ex rel. Ashton v Maginley-Liddie


2024 NY Slip Op 02763


Decided on May 17, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 17, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

COLLEEN D. DUFFY, J.P.
PAUL WOOTEN
BARRY E. WARHIT
JANICE A. TAYLOR, JJ.


2024-03486	DECISION, ORDER &amp; JUDGMENT

[*1]The People of the State of New York, ex rel. Brittany Ashton, on behalf of Riliwan Adebowale, petitioner,
vLynelle Maginley-Liddie, etc., respondent.


Twyla Carter, New York, NY (Brittany Ashton pro se of counsel), for petitioner.
Michael E. McMahon, District Attorney, Staten Island, NY (Thomas B. Litsky and James Joseph Gandia of counsel), for respondent.
Writ of habeas corpus in the nature of an application to release Riliwan Adebowale upon his own recognizance or, in the alternative, to set reasonable bail upon Richmond County Indictment Nos. 70772/2023 and 70161/2024.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail upon Richmond County Indictment Nos. 70772/2023 and 70161/2024 is set in the sum of $150,000 posted in the form of an insurance company bail bond, the sum of $150,000 posted in the form of a partially secured bond, with the requirement of 10% down, or the sum of $75,000 deposited as a cash bail alternative, on condition that, in addition to posting a bond or depositing the cash alternative set forth above, Riliwan Adebowale shall (1) wear an electronic monitoring bracelet, with monitoring services to be provided by a qualified entity pursuant to CPL 510.40(4)(c), and any violations of the conditions set forth herein relating to the electronic monitoring shall be reported by the electronic monitoring service provider to the Office of the District Attorney of Richmond County, and further proceedings pursuant to CPL 510.40(4)(d), if any, shall be conducted by the Supreme Court, Richmond County; and (2) remain within and shall not travel beyond the geographical limits of the City of New York, except for visits to his attorney, his doctors, or court; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that Riliwan Adebowale (1) has given an insurance company bail bond in the sum of $150,000, has given a partially secured bond in the sum of $150,000, with the requirement of 10% down, or has deposited the sum of $75,000 as a cash bail alternative; and (2) has arranged for electronic monitoring with a qualified entity pursuant to CPL 510.40(4)(c), the Warden of the facility at which Riliwan Adebowale is incarcerated, or his or her agent, is directed to immediately release Riliwan Adebowale from incarceration.
DUFFY, J.P., WOOTEN, WARHIT and TAYLOR, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








